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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

 MICHON HOUSTON,                         )
                                         )
             Petitioner,                 )
                                         )
             v.                          )    Civil Action No. 2:21-cv-10861
                                         )
 DARRELL STEWARD,1                       )    Hon. Sean F. Cox
                                         )    United States District Judge
             Respondent.                 )
                                         )

                           REPLY IN SUPPORT OF

                  PETITION FOR WRIT OF HABEAS CORPUS


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December 23, 2021


   1
     Petitioner acknowledges the State’s representation that James Schiebner is now
the warden of the Muskegon Correctional Facility, see Dkt.8 at PageID.159, n.1, and
requests that Schiebner or any party the Court deems proper be substituted as the
respondent in this matter.
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                                INTRODUCTION
      Michon Houston presents credible evidence from multiple witnesses who say

he did not commit a murder for which he was convicted. The evidence—two

affidavits—was obtained by a third party (the Michigan Law School’s Innocence

Clinic) while Houston was incarcerated. Once Houston obtained these affidavits, he

promptly sought judicial relief. The State’s arguments for why Houston should now

be barred from this Court ignore that, at every step, Houston acted diligently for a

man in his circumstances. The State’s position would slam the door shut on any

petitioner who so much as heard a rumor relevant to his case and then tried to learn

the factual predicate in the following months. It runs counter to both § 2244 and

principles of equity and fairness. This Court should reject it.

      The evidence presented by Houston establishes that he did not commit this

murder. On the contrary, another man committed the murder and orchestrated a

cover-up that resulted in Houston’s conviction—all while Houston’s trial counsel

refused to perform a bare-minimum investigation that would have stopped this

scheme before Houston’s trial. The State hardly engages with these shocking facts

at all. Instead, it makes baseless credibility arguments (including repeating legally

improper credibility determinations made by the state trial court regarding the Miller

affidavit) and points to statutory standards that Houston has in fact satisfied. The

State fails to acknowledge the gravity of the Petition and supporting evidence now
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before the Court. The Court should refuse to dismiss the Petition and allow it to be

considered.

                                      ARGUMENT

I.        Houston’s Petition Survives Any Statute of Limitations
          Houston’s Petition is timely under 28 U.S.C. § 2244. But even if this Court

determines that it is not, the Petition is still timely as Houston is entitled to equitable

tolling to allow its consideration.

          A.     Houston’s Petition is Timely Under § 2244
          The timeliness calculation in section 2244 is simple to compute, and here, it

relies upon facts established by undisputed record evidence. Section 2244 provides

for a one-year limitations period running from “the date on which the factual

predicate of the claim or claims presented could have been discovered through the

exercise of due diligence.” 28 U.S.C. § 2244(d)(1)(D). This period excludes the

“time during which a properly filed application for State post-conviction or other

collateral review with respect to the pertinent judgment or claim is pending.” Id.

§ 2244(d)(2). Undisputed evidence shows that Houston timely filed his Petition

within this statutory window:

          • Houston received the Tony Miller affidavit in the mail on June 6,
            2016. Affidavit of Michon Houston (Dec. 14, 2021) (“2021
            Houston Aff.”) at ¶2.2


     2
         The 2021 Houston Affidavit is attached to this Reply.

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       • On June 14, 2016, Houston filed a state trial court motion for relief
         from judgment. See Dkt.9-9 at PageID.781. This motion was
         pending (and thus tolled his one-year clock) until October 19, 2016,
         when it was denied. Dkt.9-10.
       • On February 22, 2017, Houston filed a motion for leave to appeal in
         the Michigan Court of Appeals. Dkt.9-14 at PageID.883. This
         motion was pending until it was denied on July 11, 2017. Id. at
         PageID.882.
       • On August 23, 2017, Houston filed an application for leave in the
         Michigan Supreme Court. Dkt.9-17 at PageID.1086. This
         application was pending until it was denied on May 1, 2018. Id. at
         PageID.1085.
       • On May 15, 2018, Houston signed his motion to authorize the filing
         of a second or successive habeas petition in the U.S. Court of
         Appeals for the Sixth Circuit.3 In re Houston, No. 18-1579, Dkt.1-
         2 at 19 (6th Cir.). This motion was pending until the Sixth Circuit
         granted it in part on November 17, 2020. Id. at Dkt.46.
       • On April 16, 2021, Houston filed his authorized petition for writ of
         habeas corpus in this Court. Dkt.1.

From June 6, 2016 to April 16, 2021, accounting for the exclusions for “pending”

filings under § 2244(d)(2), Houston’s Petition is timely:

       •   8 days from June 6, 2016 to June 14, 2016,
       •   126 days from October 19, 2016 to February 22, 2017,
       •   43 days from July 11, 2017 to August 23, 2017,
       •   14 days from May 1, 2018 to May 15, 2018, and
       •   150 days from November 17, 2020 to April 16, 2021,




   3
     Because Houston filed his motion pro se, it is considered filed as of the date he
signed it under penalty of perjury. Towns v. United States, 190 F.3d 468, 469 (6th
Cir. 1999).

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for a total of 341 days. Since less than one year had elapsed (excluding pending-

filing time), Houston’s present Petition is timely, and the statute of limitations is

satisfied. Houston’s Petition is not barred.

       The only possible argument with this math is that June 6, 2016 is not the

proper start date under § 2244(d)(1)(D)’s factual predicate standard. The State

suggests this in its Answer, arguing that “something does not add up” and asking if

“it [is] Houston who is hiding something?”4 Dkt.8 at PageID.181-82. The State

bases this insinuation solely on the portions of Houston’s June 2016 motion for relief

from judgment in which he says that he “learned that Miller . . . knew the neighbor”

and that “[Miller] knew about the incident and [Lavero Crooks].” Id. at PageID.182.

But these statements do “add up” and do not suggest at all that Houston is “hiding

something.” On the contrary, they are completely consistent with Houston’s course

of conduct and with Houston discovering the factual predicate for his Petition only

after this conversation with Miller.

       While he was incarcerated, Houston discussed his case with the University of

Michigan Law School Innocence Clinic. The Clinic did not represent Houston; its



   4
     The State appears to argue that the date on which the AEDPA clock should begin
is the date from which Tony Miller signed his affidavit. See Dkt.8 at PageID.182–
83. But it presents no evidence of Houston learning of the facts within that affidavit
from the date of the signing until June 6, 2016. If the State is in fact arguing that the
signing date started the clock, then its suggestions about what Houston learned
before the affidavit was signed are immaterial to the time analysis.

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student attorneys merely performed an independent investigation while reviewing

whether to take on Houston as a client. 2021 Houston Aff. at ¶3. Around that time,

Houston met Tony Miller, a man he had never known before. Id. ¶4. Houston and

Miller were incarcerated in the same facility, but they were in different cell blocks

and did not interact with each other regularly or frequently. Id. Houston and Miller

interacted on limited occasions for only a one- to two-week period, before Houston

was transferred to a different correctional facility. Id. ¶¶4, 6. In that short time,

Houston learned that Miller had known Nicole Thomas and generally knew about

the Carlton Thomas murder. Id. ¶6. Houston reached out to the Clinic to inform

them that Tony Miller may be worth talking to. Id. After that, Houston never spoke

with Miller again. Id.

      On the other hand, the Clinic did speak with Miller. The Clinic interviewed

Miller and ultimately obtained his affidavit. The Clinic, however, did not share

details of their interview with Miller with Houston. Id. ¶7. Because the Clinic did

not represent Houston, their phone conversations were not privileged.             Their

correspondence was mainly Houston asking repeatedly for the evidence they had

obtained (so that he could use it to support his motions for relief) and the Clinic both

refusing to share that evidence as well as any details about it contents. Id.

      After months of Houston attempting to learn anything about the evidence that

might have been obtained by the Clinic, it finally mailed him the Miller affidavit on


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 June 1, 2016, which Houston received on June 6. Id. ¶2. On that date, Houston

 understood that Tony Miller had been in his vehicle and was able to be a clear

 eyewitness to the murder that Lavero Crooks committed. Houston immediately took

 action—by drafting and filing a motion for relief from judgment on the basis of the

 new evidence about one week later, and by continuing to diligently pursue his rights

 thereafter. See Dkt.9-9.

       Houston’s short initial encounter with Miller is not sufficient to start the

 AEDPA one-year clock. As the Sixth Circuit has recognized, AEDPA must be

 interpreted to avoid “a trap that renders litigation of a successful [habeas] claim

 effectively impossible.” Jefferson v. United States, 730 F.3d 537, 547-48 (6th Cir.

 2013). This “trap” is one that would cut against the prisoner, no matter what he does:

 “[W]hen a prisoner spends a tremendous amount of time establishing the validity of

 the facts, a court may find that the initial piece of uncorroborated information would

 be deemed a ‘factual predicate’ to start the statute-of-limitations period; if, however,

 a prisoner instead chooses to submit an application with the same piece of ‘raw’

 information, it may fail the fact-pleading requirement.”          Id. (quoting Limin

 Zheng, Actual Innocence as a Gateway through the Statute-of-Limitations Bar on

 the Filing of Federal Habeas Corpus Petitions, 90 Cal. L.Rev. 2101, 2135 (2002)).

 Houston deftly maneuvered through the AEDPA maze, working diligently to gain

 evidence and presenting his claim to the Court once he was able to obtain it. As the


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 Sixth Circuit recognized, he cannot be held to the “heads, I win; tails, you lose” trap

 that the State suggests this Court should impose.

       Houston’s Petition is therefore timely, and this Court should proceed to

 consider the merits.

       B.     Houston is Entitled to Equitable Tolling
       Even if the Court finds that Houston’s Petition is not timely, the Court should

 still reach the merits of the Petition and find that the limitations period was equitably

 tolled. The statutory limitations period is not jurisdictional. LaMar v. Houk, 798

 F.3d 405, 415 (6th Cir. 2015). In “appropriate cases,” it may be equitably tolled.

 Holland v. Florida, 560 U.S. 631, 645 (2010). A petitioner is entitled to equitable

 tolling if he shows both “‘(1) that he has been pursuing his rights diligently, and (2)

 that some extraordinary circumstance stood in his way’ and prevented timely filing.”

 Id. (quoting Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005)). A petitioner “need not

 have practiced the ‘maximum feasible diligence’” to satisfy the due diligence

 requirement. In re Wogenstahl, 902 F.3d 621, 629 (6th Cir. 2018) (quoting In re

 Vinson, No. 14-2521, 2015 U.S. App. LEXIS 23331, at *6-*7 (6th Cir. Sept. 24,

 2015) (analyzing parallel standard in 28 U.S.C. § 2244(b)(2)(B)). Rather, he need

 only show “he has done as much as could ‘reasonably’ be expected from someone

 in his circumstances.” Id. (quoting In re Vinson, 2015 U.S. App. LEXIS 23331 at

 *7-*8) (analyzing parallel standard).


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          Houston has made these showings. Houston pursued his rights diligently

 throughout his incarceration. He informed the Innocence Clinic of a potential

 witness and followed up—repeatedly—to request information about the evidence

 that resulted from the Clinic’s interview of Miller. 2021 Houston Aff. at ¶7. Even

 as he was repeatedly rebuffed, he still tried over and over to obtain the evidence. Id.

 All evidence in the record here shows a pattern of Houston trying to do as much as

 can “reasonably be expected from someone in his circumstances” to pursue his

 claim.     Indeed, the Sixth Circuit has already recognized that “a person ‘in

 [Houston’s] circumstances’ . . . could not have discovered Miller’s affidavit earlier

 through the exercise of reasonable diligence.” Order, In re Houston, No. 18-1579,

 Dkt.46-2 at 4-5 (6th Cir. Nov. 17, 2020).

          In addition, Houston has shown that an “extraordinary circumstance stood in

 his way.” Holland, 560 U.S. at 645. Houston was incarcerated. He was also stymied

 by the Innocence Clinic’s refusal to share evidence with him. Each of these facts

 constitutes an extraordinary circumstance. While imprisoned, Houston could not

 perform any investigation, interview witnesses, or obtain evidence. He could only

 ask others for help. And when he asked the Clinic for help (by sharing the Miller

 affidavit with him), the Clinic repeatedly refused to do so. Then, Houston had no

 recourse, as the Clinic did not represent him in an attorney-client capacity. Requiring

 more from Houston “ignores the reality of the prison system and imposes an


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 unreasonable burden on prisoners” who have limited resources available to them.

 See Granger v. Hurt, 90 F.App’x. 97, 100 (6th Cir. 2004).

        Because Houston diligently pursued his rights, even in the face of the

 obstacles in his way, he is entitled to equitable tolling regardless of whether his

 Petition is timely under § 2244. If the Court determines that either the Petition is

 timely under the statute or that Houston is entitled to equitable tolling, the merits of

 the Petition should be reached. When the merits are reviewed, it is clear that Houston

 is entitled to habeas relief.

 II.    Houston Is Entitled To Habeas Relief
        As discussed supra section I, the factual predicate for Houston’s claim could

 not have been discovered earlier. Though Houston met Miller in passing in prison

 and learned in a brief conversation that Miller “knew the neighbor (Nicole

 Thomas),” “knew about the incident,” and knew Crooks by his street name, Dkt.9-9

 at PageID.798, that does not mean that the factual predicate for Houston’s claim

 could have been discovered at that time with reasonable diligence. Supra § I.

        Nor would any reasonable juror find Houston guilty given the facts that Miller

 would testify to and the dominoes that would fall thereafter. As discussed in the

 Petition, the evidence presented completely nullifies the only “evidence” that ties

 Houston to his crime: purported eyewitness testimony from the actual murderer

 (Crooks) and another man, Johnson, whom Crooks threatened to murder and who


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 has since recanted his testimony. Dkt.1 at PageID.56-57. The State argues that “a

 juror would have been tasked with evaluating Miller’s testimony in light of the other

 evidence at trial, including the testimony from both Johnson and Crooks who

 identified Houston as the shooter.” Dkt.8 at PageID.190. True. But what the State

 fails to address is that evaluating Miller’s testimony in light of the other evidence at

 trial actually makes it more powerful to a reasonable juror. Miller saw Crooks shoot

 Carlton Thomas and did not see Johnson at all at the time of the murder. Dkt.1 at

 PageID.26-28. This testimony, standing alone, should have been enough for a

 reasonable juror to discredit Crooks’ testimony, especially considering the glaring

 inconsistencies between his and Johnson’s testimony. Dkt.1 at PageID.21-24, 43-

 46. Not only that, Johnson has since recanted his testimony, such that Miller’s

 testimony may have been enough for Johnson to tell the truth in the first instance.

 And Miller’s testimony is the only testimony that fits the physical evidence,

 including the bicycle left at the scene of the crime. Dkt.1 at PageID.42-47 (Sec.

 I.B.), 56-57. Faced with this evidence, along with Crooks’ obvious motive to lie to

 protect himself, no reasonable juror would have found Houston guilty of murdering

 Thomas. This Court should not accept the State’s invitation to perform the same

 incorrect and legally improper credibility analysis as the state trial court.




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       A.     The State Trial Court’s Denial of Houston’s Relief from Judgment
              Was Wrong
       The State repeats the state trial court’s reasons for dismissing Miller’s

 affidavit, Dkt.8 at PageID.90-91, but those reasons do not withstand scrutiny.

 Miller’s affidavit exonerates Houston, and the “problems” the state trial court

 identified are actually indicators of credibility. First, the fact that Miller never told

 anyone about seeing Crooks murder Thomas is easily explained; he was never asked,

 because Lankford (Houston’s trial counsel) never interviewed Nicole Thomas. And

 Miller’s snap decision after witnessing a murder not to tell Nicole is completely

 understandable based on fear for his own life. This fear appears to have been well-

 founded as Crooks threatened Johnson’s life if he did not lie on the stand. But

 Johnson was not even connected to the killing. One shudders to think what Crooks

 would have threatened Miller with to keep him from testifying as the actual

 eyewitness to Crooks’ crime.

       Second, Miller’s account is corroborated. Miller was able to explain the

 bicycle left at the scene of the crime, though no other “eyewitness” could. Dkt.1 at

 PageID.28. Miller also identified Crooks’ car. Dkt.1, Page ID.67 ¶7; April 7, 2003

 Transcript, Houston v. Ludwick, No. 2:08-cv-10963, Dkt.7-7 at PageID.475 (E.D.

 Mich. Sept. 17, 2008) (Houston’s original federal habeas docket) (hereinafter

 “Ludwick”). Miller’s story is further corroborated by Johnson’s recantation, as

 Crooks threatened to kill Johnson if Johnson did not testify that Houston had

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 murdered Thomas. Dkt.1 at PageID.28-29. If Crooks was not the murderer, why

 threaten Johnson’s life for false testimony?

       Third, the passage of time between the murder and Miller’s affidavit confirms

 that Miller was, at least initially, afraid of Crooks and attempted to put the incident

 out of his mind out of self-preservation. But seeing that Houston had gone to jail for

 a crime Miller knows Houston didn’t commit inspired Miller to come forward with

 the truth. That should be respected and taken seriously. Instead the state trial court

 all but mocked Miller. Dkt.9-10 at PageID.874-75 (“Defendant wants this Court to

 believe that after fourteen years after [sic] witnessing a man get shot down in cold

 murder, that all of the sudden upon meeting defendant while he and Miller are both

 incarcerated, Miller comes ‘clean’ about what ‘really happened’ that fateful day.”).

       Fourth, Miller’s inability to identify anyone but Crooks by name further

 cements Miller’s status as a disinterested third-party witness. Miller only knew of

 Crooks, likely from his status as a “wild and violent” local drug dealer. Dkt.1,

 PageID.71 ¶4. And the State ignores that Miller identified a female in the passenger

 seat of Crooks’ car that Crooks admits was there. Id. 9; Ludwick Dkt.7-7 at

 PageID.471-72. Ultimately, the State is right that the standard for habeas relief here

 is “demanding,” but Houston meets and exceeds that standard and this Court should

 grant habeas relief or, at minimum, an evidentiary hearing.




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         Not only that, the state court determination of Miller’s credibility itself was

 improper. As discussed in more detail infra Section III, the state trial court required

 Houston to show that “the new evidence makes a different result probable on retrial.”

 Dkt.9-10 at PageID.873 (emphasis added). “In order to determine whether newly

 discovered evidence makes a different result probable on retrial, a trial court must

 first determine whether the evidence is credible.” People v. Johnson, 502 Mich. 541,

 566-67 (2018). When making this determination, “the trial court should consider all

 relevant factors tending to either bolster or diminish the veracity of the witness’s

 testimony.” 5 Id. at 567. Importantly, “[a] trial court’s function is limited when

 reviewing newly discovered evidence, as it is not the ultimate fact-finder.” Id. As

 relevant here, “if a witness is not patently incredible, a trial court’s credibility

 determination must bear in mind what a reasonable juror might make of the

 testimony, and not what the trial court itself might decide, were it the ultimate fact

 finder.” Id.

         In this case, the state court reviewed Miller’s affidavit as if it was the ultimate

 fact finder. Dkt.9-10 at PageID.874-75 (“This Court has serious reservations about

 the legitimacy of Mr. Miller’s accounts of what happened to the decedent. … [I]t is

 within the trial court’s discretion to determine the credibility of the confessor.”); id.




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        All emphasis added unless otherwise noted.

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 (“Defendant wants this Court to believe that...”). In summary fashion—with no

 citations across a paltry five sentences of discussion—the state court stated its views

 on purported weaknesses in the affidavit and concluded it was not credible. While

 the discussion immediately above makes clear that Miller is credible, the state court

 judge made absolutely no determination “whether a reasonable juror might conclude

 that [Miller] is nonetheless credible with regard to the facts at issue here.” Johnson,

 502 Mich. at 570. Indeed, the word “juror” does not even appear in the opinion at

 all. See Dkt.9-10. Nor did the state court discuss any of the factors tending to bolster

 Miller’s testimony, including those discussed above and in the Petition. The State

 asks this Court to not only credit this improper credibility determination, but make

 the same one. The Court should decline to do so.

       Aside from being wrong on the law and wrong on the facts (wrongly stating

 that Miller was “unable to identify anyone else who was present”), the state trial

 court also improperly focused on its own jaded view of wrongful convictions in

 dismissing the possibility that “fourteen years after witnessing a man get shot down

 in cold murder, that all of the sudden upon meeting defendant while he and Miller

 are both incarcerated, Miller comes ‘clean’ about what ‘really happened’ that fateful

 day.” Dkt.9-10 at PageID.875. This case is thus similar to Johnson, where the trial

 court made its own credibility determination (ignoring what a reasonable juror

 would believe) based on its own experiences and suppositions (the court’s own


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 memory), incorrect factual determinations (that the witness was asleep), and a

 complete lack of focus on the reliable aspects of the witness testimony. Johnson,

 502 Mich. at 568-71. Here, as in Johnson, “[w]hen considering [Miller’s] testimony

 in its entirety, it is clear that his testimony is not wholly incredible … and that a

 reasonable juror could find his testimony worthy of belief on retrial.” 502 Mich. at

 571.

        This case is also similar to the Michigan Supreme Court’s decision in People

 v. Hammock. 946 N.W.2d 546 (Mich. 2020). There, a defendant convicted of

 second-degree murder filed a motion for relief from judgment and produced an

 affidavit many years after his conviction from an eyewitness (“Carter”) who

 observed the crime. Id. at 547-48 (J. Cavanagh, concurring). An eyewitness to the

 crime who was himself shot (“Pippen”) testified that the defendant shot both Pippen

 and the decedent at a house the decedent lived at. Id. at 547. Carter’s affidavit told

 a different story in which the decedent and Pippen purchased marijuana from Carter

 (then 13) and Carter observed the decedent and Pippen robbing that same house.

 Id.at 548. Then, Carter explained, a different man drove up, walked into the house,

 yelled at Pippen and the decedent for being in the different man’s house, and then

 Carter heard gunshots. Id. After the gunshots, Carter saw the different man drive

 away. Id. The judge who rendered the initial bench trial verdict (coincidentally the

 same judge that presided over Houston’s trial) had retired and a new judge, after


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 denying the motion for relief from judgment and granting an evidentiary hearing

 after remand, changed course and declined to take testimony. Id. at 548-49.

       The Michigan Supreme Court vacated the trial court’s decision and remanded

 for an evidentiary hearing. In a concurring opinion, Judge Cavanagh explained,

 citing Johnson, that the trial court “abused its discretion by failing to consider the

 offer of newly discovered evidence in the context of the evidence presented at

 trial.” Id. at 550. There, “[e]ither Carter’s affidavit is false, or Pippen’s testimony

 is false. Both cannot be true.” Id. And further, “there was strong contemporaneous

 evidence that a larceny was ongoing when the shooting occurred … but there was

 no evidence at trial to tie the robbery to the shooting” and “Carter’s version of events

 connects those loose ends.” The same here: Either Miller’s affidavit is false, or

 Crooks’ testimony is false; both cannot be true. And as set forth in the Petition, no

 physical evidence tied Houston to the crime and the two purported eyewitness

 accounts were inconsistent and far from fulsome. Miller’s affidavit explains why.

 At minimum, this Court should grant an evidentiary hearing and not dismiss the

 Petition based on the legal error of the state trial court.

       Hammock also explains why the state trial court’s personal skepticism about

 the Miller affidavit is inappropriate. In Hammock, a dissenting judge (Markman)

 “expresse[d] disbelief that Carter was selling marijuana at 2 a.m. when he was 13

 years old, that Carter and [the] defendant happened to be incarcerated together eight


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 years later, and that Carter happened upon the Court of Appeals opinion affirming

 defendant’s conviction.” Id. at 551. Justice Cavanagh explained, “it is true that

 people in prison run into past acquaintances, that some people serving long prison

 sentences spend long hours in the law library falling down legal rabbit holes, and

 that some of those people were selling marijuana at 2 a.m. when they were 13 years

 old.” Id. She continued, “[t]hese experiences are unlike my own, and though I

 cannot speak for him, they may also be unlike Justice Markman’s. But maybe for

 exactly that reason the judicial function in this matter is not to pass on the credibility

 of Carter’s story, but only to ask ‘whether a reasonable juror could find the testimony

 credible on retrial.” Id. (emphasis in original). Houston should not remain in prison

 for a crime he didn’t commit simply because the state court did not have the same

 experiences as Houston and expressed disbelief in Miller’s testimony. This is

 especially true where the state court made its own credibility determination in

 contravention of Michigan law.

 III.   Houston’s Counsel’s Performance Was Woefully Deficient Under
        Strickland and Resulted in Severe Prejudice
        At the outset, the State dedicates two full pages of its brief to explain the

 “highly deferential” nature of review of a claim for ineffective assistance of counsel

 under Strickland. Dkt.8 at PageID.191-92. This includes “strong presumption[s],”

 an objectively reasonable standard, and “affirmatively entertain[ing] the range of

 possible reasons” counsel may have had for their actions. Yet completely absent

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 from the State’s Answer is any attempt to address the fact that, in 2008, Houston’s

 counsel, David E. Lankford, was found to have performed deficiently under the

 same “highly deferential” review, in a jury trial that took place in 2000. Dkt.1 at

 PageID.40-41 (citing Avery v. Prelesnik, 548 F.3d 434 (6th Cir. 2008)). As set forth

 in the Petition, in Avery, Lankford “never personally attempted to contact any of the

 potential alibi witnesses” and never interviewed them. Id. Lankford again brought

 his deficient performance to bear for Houston’s case in 2003, refusing to interview

 potential alibi witness Nicole Thomas, who Houston asked to lock his door just

 hours before the murder. Dkt.1, PageId.70, 73. Had Lankford simply interviewed

 Nicole Thomas, she would have led him to Miller, who had been waiting outside of

 her house and saw Crooks murder Thomas. As set forth in the Petition, Lankford’s

 objectively unreasonable failure to investigate a known exculpatory witness

 deprived Houston of his Sixth Amendment rights. Dkt.1 at PageID.33-47.

       A.     Houston’s Counsel’s Refusal to Investigate Nicole Thomas Was
              Objectively Unreasonable
       In the Petition, Houston set forth nine pages of evidence and argument as to

 why Houston’s counsel’s performance was objectively unreasonable. Dkt.1 at

 PageID.33-42. The State’s Answer all but concedes this point. The State addresses

 none of Houston’s cases and indeed cites none of its own. Dkt.8 at PageID.194-97.

 Instead, the State (1) criticizes Houston for being the only one on record asking his

 own counsel to investigate Nicole Thomas, and (2) meekly suggests that because

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 Houston’s counsel requested Court assistance in locating a witness, Houston’s

 counsel’s performance must have been reasonable. Neither of these arguments is

 well-founded or persuasive.

       First, the State complains that Houston’s account of his counsel’s performance

 is undermined by the record because “nowhere in the record is there anything

 suggesting that Houston wanted his counsel removed.” Dkt.8 at PageID.195.

 Initially, the absence of support in the record does not “undermine” Houston’s

 evidence, it simply does not bolster it. And what does the State expect? Was

 Houston to stand up in Court and exclaim that Lankford refused to investigate Nicole

 Thomas? Of course not; Houston was not aware of what Nicole Thomas would say

 because Lankford did no investigation whatsoever. Not only that, Houston was a

 poor defendant saddled with an inept public defender and could not afford his own

 counsel. Houston’s only legal advice thus came from the singular individual who

 refused to do a simple investigation into a known, potentially exculpatory witness.

 Expecting the same attorney who rendered deficient performance under Strickland

 to correctly inform his client how to combat that deficient performance just adds

 insult to injury. The State’s supposition regarding the record that Houston could

 have made is largely irrelevant. If the State wanted to rebut Houston’s evidence, it

 has had many years to find evidence to do so.




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       Second, the State faults Houston for not raising counsel’s failure to interview

 Nicole Thomas on appeal. Dkt.8 at PageID.195-96. But again, Houston did not

 know what Nicole Thomas would say. Further, Houston did inform his appellate

 counsel that Nicole Thomas was the last person he spoke with in the neighborhood

 that night. 2021 Houston Aff. at ¶8. However, when appellate counsel attempted to

 contact Ms. Thomas, she had moved out of the neighborhood and had not left contact

 information. Id. How Houston could raise such an issue on appeal without any

 knowledge of what Nicole Thomas would say is anyone’s guess.

       Third, the State argues, without support, that “counsel was actively involved

 in trying to produce witnesses and present a strong case.” Dkt.8 at PageId.196. But

 Lankford called no witnesses and presented no evidence at trial at all. Ludwick

 Dkt.7-7 at PageID.649-50. And the evidence now assembled and presented by

 Houston shows that the prosecution’s main witness (Crooks) was the actual

 murderer, the prosecution’s only other witness (Johnson) was threatened into

 testifying falsely, and a disinterested third party (Miller) witnessed the murder while

 waiting for the woman who he had been dating (Nicole Thomas) to come outside

 that night. If counsel were trying to “produce witnesses and present a strong case,”

 he needed only to interview Nicole Thomas as Houston requested, but he did not.

       The State cites Lankford’s statement after the second day of trial that “he had

 been requesting assistance in trying to locate a witness that had provided a statement


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 to the police and requested a warrant” as somehow supporting his reasonableness.

 Dkt.8 at PageID.196.      But the actual testimony only highlights his deficient

 performance. Lankford stated: “Basically I’ve asked for assistance regarding a

 witness who I had no information on other than she had a statement taken by the

 police.” Ludwick Dkt.7-7 at PageID.599 (emphasis added). Apparently, counsel

 waited until after the second day of trial to inform the judge that he needed a warrant

 for a witness “who [he] had no information on.” Id. Counsel did not even do a

 sufficient investigation to determine what evidence this witness had as of the end of

 the second day of trial. The State supposes, quite bizarrely, that if this witness was

 Nicole Thomas “it completely undermines Houston’s claim that counsel failed to

 take reasonable steps to interview her.” Dkt.8 at PageID.196-97. Quite the opposite.

 It confirms that Lankford failed to take reasonable steps to conduct a timely

 interview of a crucial witness, and failed to even find out her name. See Ludwick

 Dkt.7-7 at PageID.643 (the prosecution stated that “we have no way to even

 determining [sic] what her true identity is”). Not only this, we now know Nicole

 Thomas was at a minimum valuable for her connection to Tony Miller. Putting her

 on the stand without interviewing her first would not have led to that discovery.

 Unfortunately for Mr. Houston, this deficient performance was par for the course.

 To be sure, Lankford stated that this unnamed witness with unknown testimony was




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 “valuable to the defense,” but that was because he quite literally had prepared no

 defensive case. Id. at PageID.642-43.

        Further, we know this unnamed witness was not Nicole Thomas. 6 Ms.

 Thomas is listed in the police report by her real name. Dkt.1 at PageID.62-63. Still,

 the State argues that even if it was not Nicole Thomas it “undermines Houston’s

 claims” because “if counsel really told him that he was not going to do extra work

 and interview one witness, it is unlikely that he would take action to request the trial

 court to issue a warrant to produce another witness.” Dkt.8 at PageID.197. But the

 bar cannot be so low. Asking the court, two days into the trial, to find a witness that

 the State, almost 20 years later, supposes could possibly be a witness that counsel’s

 own client instructed him to find without knowing her name or what she would

 testify to cannot possibly be sufficient representation. There was no “action” taken.

 Indeed, the record shows that Lankford could have demanded that this witness be

 produced, but he declined to do so. Ludwick Dkt.7-7 at PageID.643-44.

        Houston told Lankford about Nicole Thomas. The State suggesting otherwise

 heavily strains credulity. Dkt.8 at PageID.197. In Houston’s own words: “Even

 without me informing counsel of the potential witnesses that may have been




    6
       It also does not appear to be Tennisha Watson. Dkt.8 at PageID.197 n.6.
 Lankford separately stated officers “weren’t able to find Ms. Watson.” Ludwick
 Dkt.7-7 at PageID.644.

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 favorable evidence for the defense, as a professional counsel [he] was suppose[d] to

 do pre-trial investigation on his own, and interview the names at the address in the

 police report for potential witnesses.” Dkt.1 at PageID.73-74. Nicole’s address was

 “within 50 feet of the crime scene.” Id. at PageID.73. Lankford apparently believed

 interviewing such a witness was “extra work,” unreasonably refused to do so, and

 caused nearly two decades of imprisonment for an innocent man.

        B.    Houston Easily Demonstrates Prejudice.
              1.     Houston’s Strickland claim is entitled to de novo review.
        The State admits, as it must, that AEDPA only “prevents a federal court from

 granting habeas corpus relief based on any claim ‘adjudicated on the merits’ in state

 court.” Dkt.8 at PageID.198; see Johnson v. Williams, 568 U.S. 289, 298 (2013).

 Tellingly, the State does not cite to any portion of the state court’s decision or discuss

 how Houston’s Strickland claim was adjudicated on the merits, because it was not.

 Dkt.8 at PageID.200. In fact, the state court explicitly did not adjudicate Houston’s

 Strickland claim on the merits, but dismissed it pursuant to procedural state court

 law.

        The state court specifically stated that Houston “allege[d] eight errors”

 including “[1] Defendant argues that he was deprived [sic] his constitutional right to

 the effective assistance of counsel where counsel failed to investigate and present an

 exculpatory witness during trial.” Dkt.9-10 at 2. Based on MCR 6.508(D), the state


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 court found that of “all of the issues defendant has raised only his newly discovered

 evidence, issue two (2), survives.” Id. at 3. The state court simply did not address

 issue [1] at all. Dkt.9-10 at 5 (“As this is a successive motion for relief from

 judgment, defendant’s other issues don’t survive MCR 6.502(G) scrutiny, and will

 not be discussed further.”). There was no further substantive adjudication of any of

 Houston’s claims. The Michigan Court of Appeals denied leave to file an appeal

 (Dkt.9-14 at 1), and the Michigan Supreme Court denied leave to appeal the

 Michigan Court of Appeals’ order. Dkt.9-17 at 1.

       The United States Supreme Court has addressed this exact issue. “When a

 federal claim has been presented to a state court and the state court has denied relief,

 it may be presumed that the state court adjudicated the claim on the merits in the

 absence of any indication or state-law procedural principles to the contrary.”

 Harrington v. Richter, 562 U.S. 86, 99 (2011). MCR 6.502(G) is undeniably such a

 procedural principle.    See People v. Swain, 228 Mich. App. 609, 636 (2010)

 (referencing “the procedural bar of MCR 6.502(G)”); Downing v. Metrish, No. 2:08-

 cv-009, 2011 WL 1230831, at *5 (W.D. Mich. Jan. 31, 2011) (describing “MCR

 6.502(G)(1)” as “a state procedural rule”). And more than a simple “indication,” the

 state trial court explicitly stated that “defendant’s other issues [besides issue [2]]

 don’t survive MCR 6.502(G) scrutiny, and will not be discussed further.” Dkt.9-10




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 at 5; see also id. at 3. Thus, Houston’s Strickland claim simply was not adjudicated

 on the merits and 28 U.S.C. § 2254(d) does not apply.

       Nor can the state trial court’s decision on Houston’s issue [2] substitute for an

 “adjudication on the merits” of Houston’s Strickland claim. First, as discussed

 immediately above, Houston’s Strickland claim was set forth at issue [1], which was

 explicitly not addressed. Second, the state trial court’s newly discovered evidence

 test simply did not apply Strickland’s prejudice standard. Instead, the state trial court

 required Houston to show that “the new evidence makes a different result probable

 on retrial.” Dkt.9-10 at PageID.873 (emphasis added). But Strickland’s standard

 requires “a reasonable probability that … the result of the proceeding would have

 been different.” Strickland v. Washington, 466 U.S. 668, 694 (1984). “A reasonable

 probability is a probability sufficient to undermine confidence in the outcome.” Id.

 Therefore, even if the state trial court’s decision could be read to address the

 prejudice prong of Strickland in any way (and it explicitly does not), it would have

 done so contrary to Strickland. See Williams v. Taylor, 529 U.S. 362, 405-06 (2000)

 (“A state-court decision will certainly be contrary to our clearly established

 precedent if the state court applies a rule that contradicts the governing law set forth

 in our cases.”).

       Finally, as set forth supra Section II.A, the state trial court improperly made

 its own credibility determination with regard to Miller’s affidavit. Thus, even if the


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 state trial court did adjudicate Houston’s Strickland claim on the merits (it did not),

 it unreasonably applied Strickland’s prejudice standard and the Petition is subject to

 de novo review.

                 2.      Trial counsel’s refusal to interview Nicole Thomas severely
                         prejudiced Houston.
       It is difficult to imagine more prejudicial circumstances than those set forth in

 the Petition.        Dkt.1 at PageID.42-47.    Briefly, Houston’s counsel’s failure to

 investigate a known potentially exculpatory witness (Nicole Thomas) deprived him

 of critical evidence showing that the actual murderer was the prosecution’s key

 witness. Not only that, Miller’s evidence flatly contradicts and therefore undermines

 all of the evidence of Houston’s guilt— the purported eyewitness testimony that was

 the sole support for his conviction. The State knows this. Faced with the extremely

 prejudicial failings of Houston’s counsel, the State complains that (1) it is

 speculative that Nicole Thomas would have led trial counsel to Miller and (2) Miller

 “has never stated that he would have been willing to testify at Houston’s trial.” Dkt.8

 at PageID.200-02. Neither argument is persuasive.

       The State’s position is that Houston’s claim “must be based upon more than

 mere speculation that further investigation would have been beneficial,” and it cites

 three cases in support. Dkt.8 at PageID.200. These cases are easily distinguishable.

 Hodge v. Haeberlin rejected a claim that counsel failed “to make further

 investigation of a potential alternative suspect” as having “no basis in the record”

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 because a detective specifically “pursued this lead … until it proved to be a dead

 end.” 579 F.3d 627, 650-51 (6th Cir. 2009). Here, Lankford refused even to pursue

 the Nicole Thomas lead, let alone pursue it until it proved to be a dead end.

       Beuke v. Houk concerned an allegation that counsel failed to perform

 adequately by “unreasonably delay[ing] their mitigation investigation until after the

 jury issued its guilty verdict.” 537 F.3d 618, 644 (6th Cir. 2008). But the Sixth

 Circuit’s discussion of “evidence to confirm or deny that conclusion” was

 specifically with respect to the reasonableness prong of Strickland, not prejudice.

 Id. And further, counsel’s billable hours sheets showed much time spent pre-

 conviction on activities that “could have been focused on the mitigation

 investigation,” such that the Court could not find deficient performance. Id. Here,

 Houston welcomes an evidentiary hearing where the State is free to present evidence

 of Lankford’s performance. Until then, there is no such evidence to overcome.

       The State’s citation to Davis v. Carpenter likewise does not concern the

 question of prejudice. 798 F.3d 468 (6th Cir. 2015). The State again excerpts from

 the Sixth Circuit’s discussion of counsel’s reasonableness in his “efforts to find an

 expert.” Id. at 474. There, counsel found an expert for the first trial, but was unable

 to find one for the second after the first expert refused. Id. at 472.          Counsel

 “obtained a continuance to gain more time to find a replacement” and sought help

 from the prior expert’s attorney who “had attended medical school [and] knew


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 doctors ‘all over the southeast’” but “could not find any local doctors willing to

 testify.”   Id.   Counsel did not stop there; he and the prior expert’s attorney

 “broadened the scope of their search” and talked to numerous doctors. Id. at 472-

 73. Here, in stark contrast, Lankford had to only contact one person who lived 50

 yards from the crime scene and was specifically identified by Houston, but did not.

        The State’s only claim based on this proposition is that “it is entirely

 speculative to assume that Nicole would have told counsel” about Miller. Dkt.8 at

 PageID.201. But Miller’s affidavit states that he arrived at the crime scene “to pick

 up Nicole Thomas” and “waited in [his] car while Nicole put her daughter to bed.”

 Dkt.1 at PageID.67 ¶¶3-4. And after Miller left, “Nicole called [his] cell phone in

 order to ask if [he] was alright, as she stated she had heard shots.” Id. at PageID.68

 ¶19. Thus, if Lankford had only asked Nicole what she was doing at the time of the

 murder, a threshold interview question, she would have stated that she heard shots

 and called Miller, who was waiting outside her house for her to put her daughter to

 bed. That is all that Lankford had to do.

        The State’s last argument is that “Miller has never stated that he would have

 been willing to testify at Houston’s trial.” Dkt.8 at PageID.201-02. If Lankford had

 simply interviewed Nicole Thomas, Miller likely would not have even had to testify

 at a Houston trial because there would not have been a Houston trial at all, as Miller’s

 evidence makes clear that Crooks should have been tried for the murder of Carlton


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 Thomas (along with numerous other crimes including perjury and witness

 tampering). This is plainly the kind of prejudice contemplated by Strickland.

       Even so, the State’s cases do not support its position that Miller’s affidavit

 must state he would have testified at trial for this Court to find prejudice. The portion

 of Sowell v. Anderson cited is simply a concurring/dissenting opinion—the State

 offers no rule that affidavits failing to contain the magic words “I would have been

 willing to testify to these facts” are infirm. See 663 F.3d 783, 802 (6th Cir. 2011)

 (Batchelder, C.J., concurring in part and dissenting in part).          And Turner v.

 Romanowski concerned an affidavit by the petitioner about what another individual

 would say. 409 Fed. App’x 922, 927 (6th Cir. 2011). But Miller’s testimony is not

 contained in an affidavit from Houston. It is his own testimony, under oath. Dkt.1

 at PageID.67-68. Further, if Miller’s affidavit is not satisfactory in this regard, the

 Court need only hold an evidentiary hearing and examine Miller and Houston there.

    SUMMARY AND REQUEST FOR RELIEF AND ORAL ARGUMENT

       For the reasons set forth above and in the Petition for Writ of Habeas Corpus

 and the Memorandum in Support thereof, Dkt.1, this Court should (1) after full

 consideration, grant the Petition and order that Michon Desmond Houston either be

 promptly retried or released from custody; (2) grant such other, further, and different

 relief as the Court may deem proper and just under the circumstances; and (3) grant

 oral argument in this matter.


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                                           Respectfully submitted,
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                          CERTIFICATE OF SERVICE
       I hereby certify that on December 23, 2021, I electronically filed the foregoing

 with the Clerk of the Court for the United States District Court for the Eastern

 District of Michigan by using the CM/ECF system. I certify that I also caused a

 paper copy of this petition to be mailed to the below address:

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                  ATTACHMENT
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